            Case 1:20-cv-03487-RA Document 34 Filed 01/12/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
G&G CLOSED CIRCUIT EVENTS, LLC,

                                   Plaintiff,
                                                                      20 CIV 3487 (RA)

                 -against-                                       DEFAULT JUDGMENT

MANUEL SANCHEZ TORRES, individually
and d/b/a MI LUGAR RESTAURANT d/b/a
 EL REY DEL TACO a/k/a LA ESQUINITA;
and MI LUGAR RESTAURANT CORP., an
unknown business entity d/b/a MI LUGAR
RESTAURANT d/b/a EL REY DEL TACO
a/k/a LA ESQUINITA,

                                Defendants.
---------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED, AND DECREED, That pursuant to the

Court’s Memorandum Opinion and Order dated January 11, 2021, Plaintiff’s motion for a default

judgment is granted: Plaintiff is awarded $10,800 in statutory damages; Defendants are jointly and

severally liable for that amount; accordingly, the case is closed.


DATED: New York, New York
       January 12, 2021

                                                             RUBY J. KRAJICK
                                                             __________________
                                                               Clerk of Court

                                                       BY: _________________
                                                              Deputy Clerk
